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ATTORNEYS FOR PLAINTIFF
AND THE PROPOSED CLASS

                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF OREGON
                                PORTLAND DIVISION

ERIK MATTSON, individually and on behalf      Case No.:
of all others similarly situated,
                                              Related to and Severed From:
Plaintiff                                     Case No. 3:17-cv-01840-YY

v.                                            CLASS ACTION

                                              PLAINTIFF’S CLASS ACTION
QUICKEN LOANS, INC.,                          COMPLAINT FOR DAMAGES &
                                              INJUNCTIVE RELIEF
Defendant.




                                              DEMAND FOR JURY TRIAL




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                        PLAINTIFF’S CLASS ACTION COMPLAINT

       ERIK MATTSON (“Plaintiff”), individually and on behalf of all other persons similarly

situated, brings this Class Action Complaint and Demand for Jury Trial (“Complaint”) against

defendant QUICKEN LOAN, INC. (“Defendant” or “Quicken Loans”) to stop Defendant’s

practice of making unsolicited telemarketing calls to the telephones of consumers nationwide and

to obtain redress for all persons injured by their conduct. Plaintiff, for his Complaint, alleges as

follows upon personal knowledge as to himself and his own acts and experiences, and, as to all

other matters, upon information and belief, including investigation conducted by his attorney.

                                       INTRODUCTION

       1.       Quicken Loans is a mortgage company. In an effort to solicit potential customers,

Defendant recruited, or employed call centers who began making telephone calls, en masse, to

consumers across the country. On information and belief, Quicken Loans and or their agents

purchase “leads” containing consumers’ contact information and create electronic databases from

which Defendant makes automated calls.

       2.       Defendant conducted (and continues to conduct) wide scale telemarketing

campaigns and repeatedly made/makes unsolicited calls to consumers’ telephones—whose

numbers appear on the National Do Not Call Registry—without consent, all in violation of the

Telephone Consumer Protection Act, 47 U.S.C. § 227 (the “TCPA”).

       3.       The TCPA was enacted to protect consumers from unsolicited telephone calls

exactly like those alleged in this case. In response to Defendant’s unlawful conduct, Plaintiff

files the instant lawsuit and seeks an injunction requiring Quicken Loans to cease all unsolicited

telephone calling activities to consumers registered on the National Do Not Call Registry, and

cease all telemarketing activity until it actually comply with its obligations under 47 C.F.R. §


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64.1200(d) and an award of statutory damages to the members of the Class under the TCPA up

to $500.00 per violation, together with court costs, reasonable attorneys’ fees, and treble

damages (for knowing and/or willful violations).

       4.       By making the telephone calls at issue in this Complaint, Defendant caused

Plaintiff and the members of the putative Classes of consumers (defined below) actual harm,

including the aggravation, nuisance, and invasion of privacy that necessarily accompanies the

receipt of unsolicited and harassing telephone calls, as well as the monies paid to their carriers

for the receipt of such telephone calls.

       5.       Plaintiff brings this class action against Quicken Loans to secure redress because

Defendant willfully violated the TELEPHONE CONSUMER PROTECTION ACT (“TCPA”), 47 U.S.C §

227, et seq. by causing unsolicited calls to be made to Plaintiff’s and other class members’

telephones even though they had registered on the Do Not Call registry.

                                              PARTIES

       6.       Plaintiff ERIK MATTSON is a natural person and citizen of Portland, Oregon.

       7.       Defendant QUICKEN LOANS CORP. (“Quicken Loans”) is a corporation organized

under the laws of the State of Michigan. Defendant maintains its principal place of business in

Detroit, Michigan. Defendant may be served with process by serving its registered agent, The

Corporation Company, 40600 Ann Arbor Rd. E., Ste. 201, Plymouth, Michigan, 48170.

       8.       Plaintiff does not yet know the identity of Defendant’s employees/agents that had

direct, personal participation in or personally authorized the conduct found to have violated the

statute, and were not merely tangentially involved. They are referenced tentatively, as numerous

District Courts have found that individual officers/principals of corporate entities may be

personally liable (jointly and severally) under the TCPA if they had direct, personal participation


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in or personally authorized the conduct found to have violated the statute, and were not merely

tangentially involved. Texas v. American Blastfax, Inc., 164 F.Supp.2d 892, 899 (W.D. Tex.

2001) (“American Blastfax”); Sandusky Wellness Center, LLC v. Wagner Wellness, Inc., 2014

WL 1333472, at * 3 (N.D. Ohio March 28, 2014); Maryland v. Universal Elections, 787

F.Supp.2d 408, 415-16 (D.Md. 2011) (“Universal Elections”); Baltimore-Washington Tel Co. v.

Hot Leads Co., 584 F.Supp.2d 736, 745 (D.Md. 2008); Covington & Burling v. Int’l Mktg. &

Research, Inc., 2003 WL 21384825, at *6 (D.C.Super Apr. 17, 2003); Chapman v. Wagener

Equities, Inc. 2014 WL 540250, at *16-17 (N.D.Ill. Feb. 11, 2014); Versteeg v. Bennett, Deloney

& Noyes, P.C., 775 F.Supp.2d 1316, 1321 (D.Wy.2011) (“Versteeg”). Upon learning of the

identities of said individuals, Plaintiff will move to amend to name the individuals as defendants.

       9.       Whenever in this complaint it is alleged that Quicken Loans committed any act or

omission, it is meant that the Defendant’s officers, directors, vice-principals, agents, servants, or

employees, subsidiaries, or affiliates committed such act or omission and that at the time such act

or omission was committed, it was done with the full authorization, ratification or approval of

Quicken Loans or was done in the routine normal course and scope of employment of the

Defendant’s officers, directors, vice-principals, agents, servants, or employees.

                                  JURISDICTION & VENUE

       10.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331, as this action

arises under the TCPA, which is a federal statute.

       11.      The Court has personal jurisdiction over Quicken Loans because it conducts

significant business in this District, and the unlawful conduct alleged in this Complaint occurred

in, was directed to, and/or emanated from this District.

       12.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because the


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wrongful conduct giving rise to this case occurred in, was directed to, and/or emanated from this

District.

        13.     Defendant is subject to specific personal jurisdiction in this District because it has

continuous and systematic contacts with this District through its telemarketing efforts that target

this District, and the exercise of personal jurisdiction over Defendant in this District does not

offend traditional notions of fair play or substantial justice.

A.      QUICKEN LOANS

        14.     Quicken Loans is now the largest mortgage lender in the United States. It has

been lending to Oregonians since at least December 1997. It describes its business activity with

the Oregon Secretary of State, as recently as November 8, 2017, as “residential lending”. In

October 2016, Quicken Loans registered a fictitious or assumed business name of “Quicken

Loans Mortgage Services” with the Oregon Secretary of State and identified each and every

County, by name, in Oregon where it was conducting “mortgage lending.”

        15.      Quicken Loans registered with the State of Oregon’s Division of Financial

Regulation with the intent to obtain a license to offer mortgage loans to Oregonians. Quicken

Loans’ Mortgage Lending License is No ML -1387, which was renewed on or about October 24,

2017. Quicken Loans obtained a Mortgage Servicer License on or about October 1, 2017, also

with the State of Oregon’s Division of Financial Regulation.

        16.     Quicken Loans, at all relevant times, has been in the business of soliciting,

marketing to and selling mortgages to Oregonians. In doing so, it directly aimed its business at

Oregonians as part of its marketing and advertising, which exceed $400 million in 2016, which

substantially increased in 2017.

        17.     Quicken Loans, using (503) and a (971) Oregon based area code phone numbers,


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contacted Plaintiff multiple times in Oregon via his (503) phone in an attempt to sell mortgage

services for property in Oregon.

                             LEGAL BASIS FOR THE CLAIMS

       18.     In 1991, Congress enacted the TCPA to regulate the explosive growth of the

telemarketing industry. In doing so, Congress recognized that “[u]nrestricted telemarketing…can

be an intrusive invasion of privacy…” Telephone Consumer Protection Act of 1991, Pub. L. No.

102-243 § 2(5) (1991) (codified at 47 U.S.C. § 227).

       19.     Specifically, the TCPA restricts telephone solicitations (i.e., telemarketing) and

the use of automated telephone equipment. The TCPA limits the use of automatic dialing

systems, artificial or prerecorded voice messages, SMS text messages, and fax machines. It also

specifies several technical requirements for fax machines, autodialers, and voice messaging

systems—principally with provisions requiring identification and contact information of the

entity using the device to be contained in the message.

       20.     In its initial implementation of the TCPA rules, the FCC included an exemption to

its consent requirement for prerecorded telemarketing calls. Where the caller could demonstrate

an “established business relationship” with a customer, the TCPA permitted the caller to place

pre-recorded telemarketing calls to residential lines. The new amendments to the TCPA,

effective October 16, 2013, eliminated the established business relationship exemption.

Therefore, all pre-recorded telemarketing calls to residential lines and wireless numbers violate

the TCPA if the calling party does not first obtain express written consent from the called party.




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       21.     As of October 16, 2013, unless the recipient has given prior express written

consent, 1 the TCPA and Federal Communications Commission (FCC) regulations promulgated

pursuant to the TCPA mandate the follow:

               ●   Prohibits solicitors from calling residences before 8 a.m. or after 9
                   p.m., local time.

               ●   Requires solicitors provide their name, the name of the person or entity
                   on whose behalf the call is being made, and a telephone number or
                   address at which that person or entity may be contacted.

               ●   Prohibits solicitations to residences that use an artificial voice or a
                   recording.

               ●   Prohibits any call or text made using automated telephone equipment
                   or an artificial or prerecorded voice to a wireless device or telephone.

               ●   Prohibits any call made using automated telephone equipment or an
                   artificial or prerecorded voice to an emergency line (e.g., “911”), a
                   hospital emergency number, a physician’s office, a hospital/health care
                   facility/elderly room, a telephone, or any service for which the
                   recipient is charged for the call.

               ●   Prohibits autodialed calls that engage two or more lines of a multi-line
                   business.

               ●   Prohibits unsolicited advertising faxes.

               ●   Prohibits certain calls to members of the Do-Not-Call Registry.

       22.     Furthermore, in 2008, the FCC held that “a creditor on whose behalf an

autodialed or prerecorded message call is made to a wireless number bears the responsibility for

any violation of the Commission’s rules.” In re Rules and Regulations Implementing the

Telephone Consumer Protection Act, Declaratory Ruling on Motion by ACA International for



   1
      Prior express written consent means “an agreement, in writing, bearing the signature of the person
called that clearly authorizes the seller to deliver or cause to be delivered to the person called
advertisements or telemarketing messages using an automatic telephone dialing system or an artificial or
prerecorded voice, and the telephone number to which the signatory authorizes such advertisements or
telemarketing messages to be delivered.” 47 C.F.R. § 64.1200(f)(8).
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Reconsideration, 23 FCC Rcd. 559, 565, ¶ 10 (Jan. 4, 2008); Birchmeier v. Caribbean Cruise

Line, Inc., 2012 WL 7062748 (Dec. 31, 2012).

       23.     Accordingly, an entity can be liable under the TCPA for a call made on its behalf,

even if the entity did not directly place the call. Under those circumstances, the entity is deemed

to have initiated the call through the person or entity.

       24.     There are just a handful of elements need to be proven for violations of the Do

Not Call provision of the TCPA.

A.     DO NOT CALL VIOLATIONS OF THE TCPA

       25.     More Than One Call within Any 12 Month Period. 47 U.S.C. § 227(c) provides

that any “person who has received more than one telephone call within any 12-month period by

or on behalf of the same entity in violation of the regulations prescribed under this subsection

may” bring a private action based on a violation of said regulations, which were promulgated to

protect telephone subscribers’ privacy rights to avoid receiving telephone solicitations to which

they object.

       26.     Calls to Phones on the Do Not Call List. The TCPA’s implementing regulation—

47 C.F.R. § 64.1200(c)—provides that “[n]o person or entity shall initiate any telephone

solicitation” to “[a] residential telephone subscriber who has registered his or her telephone

number on the national do-not-call registry of persons who do not wish to receive telephone

solicitations that is maintained by the federal government.” See 47 C.F.R. § 64.1200(c).

       27.     Including Wireless Lines on the Do Not Call List. Owners of wireless telephone

numbers (aka mobile or cellular phones) receive the same protections from the Do Not Call

provision as owners or subscribers of wireline (“landline”) phone numbers. 47 C.F.R. §

64.1200(e), provides that 47 C.F.R. §§ 64.1200(c) and (d) “are applicable to any person or entity


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making telephone solicitations or telemarketing calls to wireless telephone numbers to the extent

described in the Commission’s Report and Order, CG Docket No. 02-278, FCC 03-153, ‘Rules

and Regulations Implementing the Telephone Consumer Protection Act of 1991,’” which the

Report and Order, in turn, provides as follows:

       The Commission’s rules provide that companies making telephone solicitations to
       residential telephone subscribers must comply with time of day restrictions and
       must institute procedures for maintaining do-not-call lists. For the reasons
       described above, we conclude that these rules apply to calls made to wireless
       telephone numbers. We believe that wireless subscribers should be afforded the
       same protections as wireline subscribers.

       28.     The Affirmative Defense of Prior Express Consent. The Ninth Circuit has defined

“express consent” to mean “clearly and unmistakably stated.” Satterfield v. Simon & Schuster, Inc.,

569 F.3d 946, 955 (9th Cir. 2009) (“Satterfield”)). “Prior express consent is an affirmative defense

for which the defendant bears the burden of proof.” See Grant v. Capital Management Services,

L.P., 2011 WL 3874877, at *1, n.1. (9th Cir. Sept. 2, 2011) (“express consent is not an element of

a TCPA plaintiff’s prima facie case, but rather is an affirmative defense for which the defendant

bears the burden of proof”); see also Robbins v. Coca-Cola Company, No. 13-cv-132, 2013 WL

2252646, at *2 (S.D. Cal. May 22, 2013).

       29.      Telemarketers Must Maintain a List of Persons Requesting Not to Receive Calls.

47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity shall initiate any call for

telemarketing purposes to a residential telephone subscriber unless such person or entity has

instituted procedures for maintaining a list of persons who request not to receive telemarketing

calls made by or on behalf of that person or entity.” The procedures instituted must meet the

following minimum standards:

       (1) Written policy. Persons or entitles making calls for telemarketing purposes
       must have a written policy, available upon demand, for maintaining a do-not-call
       list.

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       (2) Training of personnel engaged in telemarketing. Personnel engaged in any
       aspect of telemarketing must be informed and trained in the existence and use of
       the do-not-call list.

       (3) Recording, disclosure of do-not-call requests. If a person or entity making a
       call for telemarketing purposes (or on whose behalf such a call is made) receives a
       request from a residential telephone subscriber not to receive calls from that
       person or entity, the person or entity must record the request and place the
       subscriber’s name, if provided, and telephone number on the do-not-call list at the
       time the request is made. Persons or entities making calls for telemarketing
       purposes (or on whose behalf such calls are made) must honor a residential
       subscriber’s do-not-call request within a reasonable time from the date such
       request is made. This period may not exceed thirty days from the date of such
       request…

       (4) Identification of sellers and telemarketers. A person or entity making a call for
       telemarketing purposes must provide the called party with the name of the
       individual caller, the name of the person or entity on whose behalf the call is
       being made, and a telephone number or address at which the person or entity may
       be contacted. The telephone number provided may not be a 900 number or any
       other number for which charges exceed local or long distance transmission
       charges.

       (5) Affiliated persons or entities. In the absence of a specific request by the
       subscriber to the contrary, a residential subscriber’s do-not-call request shall
       apply to the particular business entity making the call (or on whose behalf a call is
       made) and will not apply to affiliated entities unless the consumer reasonably
       would expect them to be included given the identification of the caller and the
       product being advertised.

       (6) Maintenance of do-not-call lists. A person or entity making calls for
       telemarketing purposes must maintain a record of a consumer’s request not to
       receive further telemarketing calls. A do-not-call request must be honored for 5
       years from the time the request is made.

                          COMMON FACTUAL ALLEGATIONS

       30.    Quicken Loans is a mortgage company. In an effort to solicit potential customers,

Defendant obtains lists of potential customers from various sources. They proceed to contact

people without having actual obtained consent to contact consumers on their cellular phones or

notwithstanding consumers’ registration with the Do Not Call registry. The Defendant also


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engages and works with third-party call centers to contact consumers. In one instance (but not

the only method), a third party, utilizing a sophisticated automated voice response system, the

call center contacts consumers and attempts to illicit a positive response from each when the

computer asks whether that individual is interested in receiving information about mortgages.

The computer then immediately forwards the caller’s information as a positive hit to Defendant,

who then place a subsequent call to that consumer for the purpose of making a sales pitch.

Defendant and/or the third parties believe they have circumvented the TCPA and have legal

consent to place the calls to these individuals. The problem is, on information and belief, the call

center forwards contact information for any live body who answers the call and communicates

with the automated system, regardless of whether that person gave valid consent to receive

subsequent marketing calls from Defendants. Furthermore, there is no question the initial calls

from the call centers are placed in violation of the TCPA. Therefore, the call centers (agents) are

also liable for violating the TCPA, as are the principals (Defendants).

        31.    In Quicken Loans’ overzealous attempt to market its services, they placed (and

continue to place) phone calls to consumers who never provided consent to call and to

consumers having no relationship with Defendant. Worse yet, Quicken Loans placed (and

continue to place) repeated and unwanted calls to consumers whose phone numbers are listed on

the National Do Not Call Registry. Consumers place their phone numbers on the Do Not Call

Registry for the express purpose of avoiding unwanted telemarketing calls like those alleged

here.

        32.    Quicken Loans knowingly made (and continue to make) these telemarketing calls

without the prior express written consent of the call recipients, and knowingly continue to call

them after requests to stop. As such, Quicken Loans not only invaded the personal privacy of


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Plaintiff and members of the putative Class, but also intentionally and repeatedly violated the

TCPA.

        33.    Quicken Loans, even after being told not to continue to call (which would revoke

any purported consent), proceeded to contact Plaintiff and members of the putative Class, even

after the 30 day safe harbor period.

                       FACTS SPECIFIC TO PLAINTIFF ERIK MATTSON

        34.    Over two years ago, on or about April 4, 2015, Plaintiff registered his cellular

phone number with the original Oregon prefix (503) and ending in 1930 with the National Do

Not Call Registry.

        35.    Beginning in 2016, Plaintiff began receiving automated calls on his cellular

telephone from various numbers offering refinanced mortgage products. Plaintiff blocked several

numbers and filed complaints with the Federal Trade Commission, but continued to receive calls

from new numbers.

        36.    Plaintiff is the regular carrier and exclusive user of the telephone assigned the

number ending in 1930. The number is assigned to a cellular telephone service for which

Plaintiff is charged for incoming calls pursuant to 47 U.S.C. § 227(b)(1).

        37.    On September 1, 2017, Plaintiff received an automated call about refinancing a

mortgage from the phone number (971) 206-9522. Plaintiff called the number back and was

greeted by what seemed to be a live representative, but in reality, was a deceptive automated

system.

        38.    Plaintiff asked the automated system questions to which he received answers that

did not logically follow his questions.




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       39.       Plaintiff called back 17 times trying to reach a live representative, but rather than

connect Plaintiff to someone he could speak to, the automated system would abruptly redirect the

conversation to a sales pitch or series of questions.

       40.       Plaintiff, still uncertain if he had been connected to a live representative or was

speaking with an automated system, began answering questions with nonsensical answers to try

to determine whether he was interacting with an actual person or a recorded system. When asked

what his name was, Plaintiff answered, “Twelve.” The system continued with its questions and

did not appear to recognize that he was answering nonsensically.

       41.       The system then asked if it could have mortgage brokers call Plaintiff, to which

Plaintiff replied, “No.” The system then repeated the question, to which Plaintiff said, “Two.”

After this response, the call abruptly ended.

       42.       Plaintiff believes this may be one of the methods the Defendant obtained his

cellular telephone number. Plaintiff believes that Defendant engages in other areas of the grey

market and similar nefarious methods to obtain contact information to solicit their mortgage

services. Nevertheless, shortly thereafter, Defendant started contacting Plaintiff to hawk their

mortgage services in the state of Oregon.

                            DEFENDANT’S CALLS TO PLAINTIFF

A.     QUICKEN LOANS

       43.       Plaintiff never had a business relationship with Quicken Loans.

       44.       Plaintiff did not provide Quicken Loans with prior express consent to receive calls

or text messages to his phone pursuant to 47 U.S.C. § 227 (b)(1)(A) and 47 C.F.R. §

64.1200(a)(3).




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       45.    On September 3, 2017 at approximately 9:22 a.m., Plaintiff received a text

message from Quicken Loans offering “No Sweat Financing, Whenever” (a tactless sales pitch

referencing the acronym NSFW). The message was sent from the number 26293. The five digit

SMS number is a dedicated short code number currently registered in the U.S. with the Common

Short Code Administration by Quicken Loans.

       46.    Quicken Loans followed up with another unsolicited text message on September

4, 2017 from the same number.

       47.    The text message(s) was/were clearly a solicitation, asking an Oregon resident,

with an Oregon phone number to click on a mobile hyperlink to obtain financing by a nationally

renowned mortgage company. The messages came from a short code, which is used by

automated texting platforms as opposed to a normal text consumers receive from friends or

family where it is sent from a 10-digit phone number.

       48.    Quicken Loans proceeded to contact Plaintiff via calls to his cellular telephone on

September 6, 2017 at approximately 9:55 a.m. from the phone number (503) 385-4396. Plaintiff

informed Quicken Loans not to contact him on his telephone again.

       49.    Quicken Loans proceeded to again contact Plaintiff hawking its mortgage service

to his cellular telephone on November 16, 2017 at approximately 8:40 a.m. from the phone

number (971) 261-4020. The caller’s name was Vanessa.

       50.    Quicken Loans proceeded to once again contact Plaintiff trying to sell him

mortgage services via a cellular telephone on November 20, 2017 at approximately 8:20 a.m.

from the phone number (971) 261-4021 The caller’s name was Crystal.

       51.    Plaintiff was annoyed by the calls and wanted Quicken Loans to stop calling, yet

Quicken Loans continued to call.


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       52.       Plaintiff believes there may be additional calls from Quicken Loans.

       53.       Quicken Loans’ calls and text message(s) constituted calls that were not for

emergency purposes as defined by 47 U.S.C. § 227(b)(1(A)(i).

       54.       Plaintiff did not provide Quicken Loans with prior express consent to receive calls

or text messages to his phone pursuant to 47 U.S.C. § 227 (b)(1)(A) and 47 C.F.R. §

64.1200(a)(3).

       55.       Plaintiff has reason to believe Quicken Loans called, and continues to call,

thousands of telephone customers listed on the DNC to market their products and services.

       56.       Plaintiff’s overriding interest is ensuring Quicken Loans cease all illegal

telemarketing practices and compensate all members of the Plaintiff Class for invading their

privacy in the manner the TCPA was contemplated to prevent.

       57.       In order to redress injuries caused by Quicken Loans’ violations of the TCPA,

Plaintiff, on behalf of himself and a class of similarly situated individuals, brings suit under the

TCPA, 47 U.S.C. § 227, et seq., which prohibits certain unsolicited voice and text calls to cell

phones.

       58.       On behalf of the Plaintiff Class, Plaintiff seeks an injunction requiring Quicken

Loans to cease all illegal DNC telemarketing and spam activities and an award of statutory

damages to the class members, together with costs and reasonable attorneys’ fees.

       59.       Plaintiff also seeks an injunction requiring Quicken Loans not to make any

telemarketing calls until Defendants and its agents comply with 47 C.F.R. § 1200(d) by

instituting procedures where any person who requests not to receive telemarketing calls made by

on or behalf of Quicken Loans will not receive any further calls after the expiration of the 30 day

safe harbor provision.


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                                            STANDING

       60.     Plaintiff has standing to bring this suit on behalf of himself and the members of

the class under Article III of the United States Constitution because Plaintiff’s claims state: (a) a

valid injury in fact; (b) an injury which is traceable to the conduct of Defendants; and (c) is likely

to be redressed by a favorable judicial decision. See Spokeo v. Robins, 578 U.S. __ (2016) at 6;

Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992).

A.     INJURY IN FACT

       61.     Plaintiff has standing to bring this suit on behalf of himself and the members of

the class under Article III of the United States Constitution because Plaintiffs’ claims state: (a) a

valid injury in fact; (b) an injury which is traceable to the conduct of Defendants; and (c) is likely

to be redressed by a favorable judicial decision. See Spokeo v. Robins, 578 U.S. __ (2016) at 6;

Robins v. Spokeo, 867 F.3d 1108 (9th Cir. 2017) (cert denied. 2018 WL 491554, U.S., Jan. 22

2018); Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992); and Chen v. Allstate Inc. Co.,

819 F.3d 1136 (9th Cir. 2016).

       62.     Plaintiff’s injury must be both “concrete” and “particularized” in order to satisfy

the requirements of Article III of the Constitution. (Id.)

       63.     For an injury to be concrete it must be a de facto injury, meaning it actually exists.

In the present case, Plaintiff took the affirmative step of enrolling himself on the National Do-

Not-Call Registry for the purpose of preventing marketing calls to his telephone. Such

telemarketing calls are a nuisance, an invasion of privacy, and an expense to Plaintiff. See Soppet

v. enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012). All three of these injuries are

present in this case. (See also Chen v. Allstate Inc. Co., 819 F.3d 1136 (9th Cir. 2016).)

       64.     Furthermore, the Ninth Circuit recently stated, Congress found that “[u]nsolicited


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telemarketing phone calls or text messages, by their nature, invade the privacy and disturb the

solitude of their recipients,” and sought to protect the same interests implicated in the traditional

common law cause of action. Van Patten v. Vertical Fitness Group, 847 F.3d 1037, 1043 (9th

Cir. 2017). Put differently, Congress was not inventing a new theory of injury when it enacted

the TCPA. Rather, it elevated a harm that, while “previously inadequate in law,” was of the same

character of previously existing “legally cognizable injuries.” Spokeo, 136 S.Ct. at 1549. Spokeo

addressed, and approved, such a choice by Congress. Susinno v. Work Out World Inc., No. 16-

3277, 2017 WL 2925432, at *4 (3d Cir. July 10, 2017).

        65.      For an injury to be particularized means that the injury must affect the plaintiff in

a personal and individual way. See Spokeo at 7. Furthermore, Plaintiff is the person who pays for

the phone, and is the regular carrier and user of the phone. All of these injuries are particular to

Plaintiff.

B.           TRACEABLE TO THE CONDUCT OF QUICKEN LOANS

        66.      Plaintiff must allege at the pleading stage of the case facts to show that his injury

is traceable to the conduct of Defendant. In this case, Plaintiff satisfies this requirement by

alleging that Quicken Loans, and/or an agent of Defendant on behalf of Defendant, placed illegal

calls to Plaintiff’s phone.

        67.      Quicken Loans placed calls and text messages to Plaintiff’s wireless/cellular

phone on at least September 3, 2017, September 4, 2017, September 6, 2017, November 16,

2017, and November 20, 2017. Quicken Loans also placed calls 30 days after being told to stop

on September 6, 2017. The calls, were all made within a 12 month period to a number on the Do

Not Call Registry.




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C.        INJURY LIKELY TO BE REDRESSED BY A FAVORABLE JUDICIAL OPINION

          68.      The third prong to establish standing at the pleadings phase requires Plaintiff to

allege facts to show that the injury is likely to be redressed by a favorable judicial opinion. In

the present case, Plaintiff’s Prayers for Relief include a request for damages for each call made

by Defendant, as authorized by statute in 47 U.S.C. § 227. The statutory damages were set by

Congress and specifically redress the financial damages suffered by Plaintiff and the members of

the putative class. Furthermore, Plaintiff’s Prayers for Relief request injunctive relief to restrain

Defendant from the alleged abusive practices in the future. The award of monetary damages and

the order for injunctive relief redress the injuries of the past, and prevent further injury in the

future.

          69.      Because all standing requirements of Article III of the U.S. Constitution have

been met, as laid out in Spokeo, Inc. v. Robins, 578 U.S. ___ (2016) and in the context of a

TCPA claim, as explained by the Ninth Circuit in Chen v. Allstate Inc. Co., 819 F.3d 1136 (9th

Cir. 2016), Plaintiff has standing to sue Defendants on the stated claims.

                                  CLASS ACTION ALLEGATIONS

A.        CLASS ALLEGATIONS

          70.      Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23(a),

(b)(2), and (b)(3) on behalf of himself and the following class defined as follows (the “Classes”):

                “Quicken Loans DNC Class”: 2 All individuals in the United States
                who: (1) received more than one telephone call made by or on behalf of
                Quicken Loans within a 12-month period; (2) to a telephone number that
                had been registered with the National Do Not Call Registry for at least 30
                days; and (3) for whom Defendant has no record of consent to place such
                calls.

                “Quicken Loans DNC SubClass”: All individuals in the United States

     2
     “DNC” referenced herein refers to the National Do Not Call Registry, established pursuant to 47
U.S.C. 227(c) and the regulations promulgated by the Federal Communications Commission (“FCC”).
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             who: (1) received more than one telephone call made by or on behalf of
             Quicken Loans within a 12-month period; (2) to a telephone number that
             had been registered with the National Do Not Call Registry for at least 30
             days; and (3) for whom Defendant, or those acting on Defendant’s behalf,
             re-contacted 30 days after first requesting Defendant, or those acting on
             Defendant’s behalf, halt placing such calls.


       71.      The following individuals are excluded from the Classes: (1) any Judge or

Magistrate presiding over this action and members of their families; (2) Defendant, Defendant’s

subsidiaries, parents, successors, predecessors, and any entity in which Defendant or its parents

have a controlling interest, and its current or former employees, officers, and directors; (3)

Plaintiff’s counsel and Defendant’s counsel; (4) persons who properly execute and file a timely

request for exclusion from the Class; (5) the legal representatives, successors or assigns of any

such excluded persons; and (6) persons whose claims against Defendant have been fully and

finally adjudicated and/or released.

       72.      This suit seeks only damages, statutory penalties, and injunctive relief for

recovery of economic injury on behalf of the Classes, and it expressly is not intended to request

any recovery for personal injury and claims related thereto.

       73.      Plaintiff reserves the right to expand the Class definitions to seek recovery on

behalf of additional persons as warranted as facts are learned in further investigation and

discovery.

       74.      Plaintiff and members of the Classes were harmed by Defendant’s acts in at least

the following ways: Defendant, either directly or through agents, illegally contacted Plaintiff and

the Class members via their telephones, after Plaintiff and the Class members took the

affirmative step of registering their numbers on the DNC.




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B.      NUMEROSITY

        75.     The exact size of the Classes is unknown and not available to Plaintiff at this time,

but it is clear individual joinder is impracticable.

        76.     On information and belief, Defendant made telephone calls to thousands of

consumers who fall into the definition of the Classes. Members of the Classes can be easily

identified through Defendant’s records.

C.      COMMONALITY AND PREDOMINANCE

        77.     There are many questions of law and fact common to the claims of Plaintiff and

the Classes, and those questions predominate over any questions that may affect individual

members of the Classes.

        78.     Common questions for the Classes include, but are not necessarily limited to the

following:

                (a)     Whether Defendant’s conduct violated the TCPA;

                (b)     Whether Defendant systematically made telephone calls to consumers who
                        did not previously provide Defendant and/or their agents with prior
                        express written consent to receive such phone calls after October 16, 2013;

                (c)     Whether Defendant systematically made telephone calls to consumers
                        whose telephone numbers were registered with the National Do Not Call
                        Registry;

                (d)     Whether members of the Classes are entitled to treble damages based on
                        the willfulness of Defendant’s conduct;

                (e)     Whether Defendant and its agents should be enjoined from engaging in
                        such conduct in the future;

                (f)     Whether Defendant and its agents failed to comply with 47 CFR §
                        1200(d).

D.      TYPICALITY

        79.     Plaintiff’s claims are typical of the claims of the other members of the Classes.


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         80.   Plaintiff and the Classes sustained damages as a result of Defendant’s uniform

wrongful conduct during transactions with Plaintiff and the Classes.

E.       ADEQUATE REPRESENTATION

         81.   Plaintiff will fairly and adequately represent and protect the interests of the

Classes, and has retained counsel competent and experienced in complex class actions.

         82.   Plaintiff has no interest antagonistic to those of the Classes, and Defendant has no

defenses unique to Plaintiff.

F.       POLICIES GENERALLY APPLICABLE TO THE CLASSES

         83.   This class action is appropriate for certification because Quicken Loans has acted

or refused to act on grounds generally applicable to the Classes as a whole, thereby requiring the

Court’s imposition of uniform relief to ensure compatible standards of conduct toward the

Classes members, and making final injunctive relief appropriate with respect to the Classes as a

whole.

         84.   Defendant’s practices challenged herein apply to and affect the Classes’ members

uniformly, and Plaintiff’s challenge of those practices hinges on Defendants’ conduct with

respect to the Classes as a whole, not on facts or law applicable only to Plaintiff.

G.       SUPERIORITY

         85.   This case is also appropriate for class certification because class proceedings are

superior to all other available methods for the fair and efficient adjudication of this controversy

given that joinder of all parties is impracticable.

         86.   The damages suffered by the individual members of the Classes will likely be

relatively small, especially given the burden and expense of individual prosecution of the

complex litigation necessitated by Defendant’s actions.

         87.   Thus, it would be virtually impossible for the individual members of the Class to

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obtain effective relief from Defendant’s misconduct.

       88.     Even if members of the Classes could sustain such individual litigation, it would

still not be preferable to a class action, because individual litigation would increase the delay and

expense to all parties due to the complex legal and factual controversies presented in this

Complaint.

       89.     By contrast, a class action presents far fewer management difficulties and

provides the benefits of single adjudication, economy of scale, and comprehensive supervision

by a single court. Economies of time, effort and expense will be fostered, and uniformity of

decisions ensured.

                            FIRST CAUSE OF ACTION
                        VIOLATION OF TCPA, 47 U.S.C. § 227(C)
          (“DNC Claim” On behalf of Plaintiff and the Quicken Loans DNC Class)

       90.     Plaintiff re-alleges and incorporates by reference each preceding paragraph as

though set forth at length herein.

       91.     Quicken Loans violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be

initiated, telephone solicitations to wireless and residential telephone subscribers such as Plaintiff

and the Quicken Loans DNC Class members who registered their respective telephone numbers

on the National Do Not Call Registry, a listing of persons who do not wish to receive telephone

solicitations that is maintained by the federal government. These consumers requested to not

receive calls from Quicken Loans, as set forth in 47 C.F.R. § 64.1200(d)(3).

       92.     Quicken Loans made more than one unsolicited telephone call to Plaintiff and

members of the Class within a 12-month period without their prior express consent to place such

calls. Plaintiff and members of the Quicken Loans DNC Class never provided any form of




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consent to receive telephone calls from Defendants do not have a record of consent to place

telemarketing calls to them.

       93.     Quicken Loans violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Quicken

Loans DNC Class members received more than one telephone call in a 12-month period made by

or on behalf of Quicken Loans in violation of 47 C.F.R. § 64.1200, as described above. As a

result of Defendants’ conduct as alleged herein, Plaintiff and the Quicken Loans DNC Class

suffered actual damages and, under section 47 U.S.C. § 227(c), are each entitled, inter alia, to

receive up to $500 in damages for such violations of 47 C.F.R. § 64.1200.

       94.     To the extent Quicken Loans’ misconduct is determined to be willful and

knowing, the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory

damages recoverable by the members of the Class.

                           SECOND CAUSE OF ACTION
            VIOLATION OF TCPA, 47 U.S.C. § 227(C) – 47 C.F.R. § 64.1200(D)
        (“DNC Claim” On behalf of Plaintiff and the Quicken Loans DNC SubClass)

       95.     Plaintiff re-alleges and incorporates by reference each preceding paragraph as

though set forth at length herein.

       96.     Quicken Loans violated 47 C.F.R. § 64.1200(d) by initiating calls for

telemarketing purposes to residential and wireless telephone subscribers, such as Plaintiff and the

Quicken Loans DNC SubClass, without instituting procedures that comply with the regulatory

minimum standards for maintaining a list of persons who request not to receive telemarketing

calls from them.

       97.     These consumers, already on the Do Not Call Registry, like Plaintiff, requested to

not receive calls from Quicken Loans, as set forth in 47 C.F.R. § 64.1200(d)(3).




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        98.     Nevertheless, Quicken Loans and its agents refused to record the requests,

including Plaintiff’s, to stop their telemarketing calls. Any prior express consent was revoked (if

it ever existed).

        99.     Quicken Loans violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Quicken

Loans DNC Class members received more than one telephone call in a 12-month period made by

or on behalf of Quicken Loans in violation of 47 C.F.R. § 64.1200(d), after they had requested to

not be called again, as described above. As a result of Defendants’ conduct as alleged herein,

Plaintiff and the Quicken Loans DNC SubClass suffered actual damages and, under section 47

U.S.C. § 227(c), are each entitled, inter alia, to receive up to $500 in damages for such violations

of 47 C.F.R. § 64.1200.

        100.    To the extent Quicken Loans’ misconduct is determined to be willful and

knowing, the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory

damages recoverable by the members of the Class.

                                       ATTORNEY’S FEES

        101.    Each and every allegation contained in the foregoing paragraphs is re-alleged as if

fully rewritten herein.

        102.    Plaintiff is entitled to recover reasonable attorney fees under Rule 23 of the

Federal Rules of Civil Procedure and other assorted statutes, and requests the attorneys’ fees be

awarded.

                                         JURY DEMAND

        103.    Plaintiff, individually and on behalf of the Class, demands a jury trial on all issues

triable to a jury.




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                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the following

relief:

                 (a)    An order certifying the Quicken Loans DNC Class as defined above,

                        appointing Plaintiff as the representative of the Class, and appointing his

                        counsel, HUGHES ELLZEY, LLP & KRISTENSEN WEISBERG, LLP as lead

                        Class Counsel;

                 (b)    An order certifying the Quicken Loans DNC SubClass as defined above,

                        appointing Plaintiff as the representative of the Class, and appointing his

                        counsel, HUGHES ELLZEY, LLP & KRISTENSEN WEISBERG, LLP as lead

                        Class Counsel;

                 (c)    An award of actual and statutory damages for each and every negligent

                        violation to each member of the Classes pursuant to 47 U.S.C. §

                        227(b)(3)(B);

                 (d)    An award of actual and statutory damages for each and every knowing

                        and/or willful violation to each member of the Classes pursuant to 47

                        U.S.C § 227(b)(3)(B);

                 (e)    An injunction requiring Defendant and Defendant’s agents to cease all

                        unsolicited telephone calling activities, and otherwise protecting the

                        interests of the Class, pursuant to 47 U.S.C. § 227(b)(3)(A);

                 (f)    An injunction precluding Defendant and Defendant’s agents from any

                        telemarketing, until they comply with the mandate of 47 C.F.R. §

                        64.1200(d).


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              (g)     Pre-judgment and post-judgment interest on monetary relief;

              (h)     An award of reasonable attorneys’ fees and court costs; and

              (i)     All other and further relief as the Court deems necessary, just, and proper.

Dated: June 5, 2018


                                                    Respectfully Submitted,

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                                             ATTORNEYS FOR PLAINTIFF
                                             AND THE PROPOSED CLASSES




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                                CERTIFICATE OF SERVICE

       I certify that on this Fifth day of June, 2018, the foregoing document entitled

PLAINTIFF’S CLASS ACTION COMPLAINT FOR DAMAGES & INJUNCTIVE RELIEF

will be served in accordance with the Court’s CM/ECF system, which will send notification of

such filing and a true copy of the foregoing document by notice via email to the ECF participants

of record.


                                                                       By: /s John P. Kristensen
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